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lN THE UNlTED STATES DlSTR|CT COURT
FOR THE WESTERN D|STR|CT OF TENNESSEE
WESTERN D|V|S|ON

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W,'D t:i- .==‘~l__ § iiiPHiS
Piaimiif, *
vs. * Criminai No. 04-20350-D

ll-

KEV|N DOUGLAS MICKSCH,

Defendant. *

 

PRELIM|NARY ORDER OF FORFE|TURE

 

in indictment Number 04-20350-D, the United States sought forfeiture of specific
property of defendant Kevin Doug|as l\/licksch, pursuant to 18 U.S.C. § 2252. On June 30,
2005, the defendant, Kevin Doug|as l\/licksch, entered a plea of guilty to Counts tand 2
of the lndictment.

Accordingly, it is ORDERED:

1. Based upon the defendant’s guilty plea to Counts 1 and 2 of the indictment
Number 04-20350-D, the United States is authorized to seize the following property
belonging to defendant Kevin Dougias i\/|icksch, and his interest in it is hereby forfeited to
the United States for disposition in accordance with the law, subject to the provisions of 21
U.S.C. §853(n) and Ru|e 32(d)(2) of the Federa| Ru|es of Criminai Procedure:

a. Any visual depiction described in Section 2252 of Title 18 United
States Code, and any book, magazine, periodica|, firm, videotape, and other matter which
contains any such visual depiction, which was produced, transported, mailed, shipped, or

received in violation of the above said statute;

This document entered on the docket sheet in compliance
With Fiule EF ansi/or 32{b) FRCrP on tf' 6 '05

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b. Any property, real or personal, constituting or traceable to gross
profits or other proceeds obtained from the above said offenses; and

c. Any property, real or personal, used or intended to be used to commit
or to promote the commission of the above said offenses, including but not limited to the
following:

1) One (1) Ricoh Digita| Camera l\/lode|,
RDC5000 SN-120117;

2) One (1) Black Cloth Camera Case;

3) One (1) Sony Vaio Laptop Computer
w/ Docking Station & Power Cord, Modei
Number, PCG-8M1R, SN -300001;

4) One (1) Western Digital External Hard
Drive with Power Cord, l\/lodel Number,
WD800B005, SN- WCA8E6531958;

5) One (1) Red Ny|on CD case containing
numerous CDs;

6) Five (5) Verbatim DVD+R.

Al| pursuant to Title 18, United States Code, Section 2253.

2. The forfeited property is to be held by the United States Marshal in his
secure custody, or, as may be necessary, the Attorney General may appoint a substitute
custodian.

3. Pursuant to 21 U.S.C. §853(n)(1), the United States Marshal shall publish at
least once a week for three successive weeks in a newspaper of general circulation in
Shelby County, Tennessee, notice of this order, notice of the United States’ intent to
dispose of the property in such manner as the Attorney General or his delegate may direct,

and notice that any personl otherthan the defendant, having or claiming a legal interest

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in any of the above-listed forfeited property must file a petition with the court within thirty
(30) days of the final publication of notice or of receipt of actual notice, whichever is earlier.
This notice shall state that the petition shall be for a hearing to adjudicate the validity of the
petitioners alleged interest in the property, shall be signed by the petitioner under penalty
of perjury, and shall set forth the nature and extent of the petitioners right, title or interest
in each of the forfeited properties and any additional facts supporting the petitioners claim
and the relief sought. The United States lVlarshal or his delegate may use the attached
Legai Notice.

The United States may also, to the extent practicable, provide direct written notice
to any person known to have alleged an interest in property that is the subject of this
Preliminary Order of Forfeiture, as a substitute for published notice as to those persons so
notified.

4. Pursuant to Fed. R. Crim. P. 32.2(b)(3), this Preliminary Order of Forfeiture
shall become final as to the defendant at the time of sentencing and shall be made part of
the sentence and included in the judgment

5. lf no third party files a timely claim, this Order shall become the Final Order
of Forfeiture, as provided by Fed. R. Crim. P. 32.2(0)(2).

6. The United States shall have clear title to the Subject Property following the
Court’s disposition of all third-party interests, or, if none, following the expiration of the
period provided in 21 U.S.C. §853(n)(2), which is incorporated by 18U.S.C. §982(b) and
28 U.S.C. §2461(c), for the filing ofthird party petitions.

7. The Court shall retain jurisdiction to enforce this Order, and to amend it as

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necessary, pursuant to Fed. R. Crim. P. 32.2(e).

IT is so oRDERED this j ij ‘"` day or (25 5._.¢ ,2005.

eei{i§iice e. DoNALD 7
United States District Judge

PRESENTED BY:

TERRELL L. HARR|S
United States Attorney

raw

UF€|STOPHER E. COTTEN
Assistant United States Attorney

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|N THE UN|TED STATES DISTRICT COURT
FOR THE WESTERN D|STR|CT OF TENNESSEE
WESTERN DlV|SlON

lt-

UNITED STATES OF AMERICA,

Plaintiff, *
vs. * Criminai No. 04-20350-D
KEV|N DOUGLAS MlCKSCH, *

Defendant. *

 

LEGAL NOT|CE

Take notice that on ( ;Z,,E :.,ggf-jj gd&§':the United States District Court for the

Western District of Tennessee, Western Division, entered a Preliminary Order of Forfeiture

 

ordering that all right, title and interest of the defendant Kevin Douglas Micksch in the
following property be forfeited to the United States to be disposed of in accordance with
law:

a. Any visual depiction described in Section 2252 of Title 18 United States
Code, and any book, magazine, periodical, firm, videotape, and other matter which
contains any such visual depiction, which was produced, transported, mailed, shipped, or
received in violation of the above said statute;

b. Any property, real or personal, constituting or traceable to gross profits or
other proceeds obtained from the above said offenses; and

c. Any property, real or personal1 used or intended to be used to commit or to

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following:

1)

2)
3)

4)

5)

6)

One (1) Ricoh Digital Camera |Vlode|,
RDCSOOO SN-120117;

One (1) Black Cloth Camera Case;

One (1) Sony Vaio Laptop Computer
w/ Docking Station & Power Cord, Modei
Number, PCG-.B|Vl1R, SN -300001;

One (1) Western Digital External Hard
Drive with Power Cord, Modei Number,
WDBOOBOO5, SN- WCA8E6531958;

One (1) Red Nylon CD case containing
numerous CDs;

Five (5) Verbatim DVD+R.

All pursuant to Title 18, United States Code, Section 2253.

The United States intends to dispose of this property in such matter as the Attorney

General or his delegate may direct. Any person, other than the defendant, having or

claiming a legal interest in the above-listed forfeited property must file a petition with the

Court within thirty (30) days of the final publication of this notice or of receipt of actual

notice, whichever is earlier. The petition shall be for a hearing to adjudicate the validity of

the petitioners alleged interest in the property, shall be signed by the petitioner under

penalty of perjury, and shall set forth the nature and extent of the petitioners right, title, or

interest in each of the forfeited properties and any additional facts supporting the

petitioners claim and relief sought.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 39 in
case 2:04-CR-20350 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

J. Patten BroWn

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Honorable Bernice Donald
US DISTRICT COURT

